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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


UZIEL AMAYA and                                        CIVIL ACTION NO. 21-578-SDD-EWD
FERNANDO HERRERA

VERSUS

MKT CONSTRUCTION, LLC, MK SIMMONS
CONSTRUCTION, LLC and
DORIS CORRALES


      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FRCP 41(a)(1)(A)(i)

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the plaintiffs,

through undersigned counsel, represent that no answer or motion for summary judgment has

been filed in this matter, and give notice that the above-captioned action is voluntarily dismissed,

without prejudice, against all of the defendants.

                                                       Respectfully Submitted:

                                                       ESTES DAVIS LAW, LLC


                                                       /s/ Daniel B. Davis
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